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                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS

 In re:
MARIANNA LUISA DiMARCO- CAVUOTO Chapter 13
and                             Case No 18-12622-MSH
ANGELO CAVUOTO,
               Debtors.


         CERTIFICATION PURSUANT TO MLBR 13-8 (NO CONFERENCE
             NECESSARY) AND REQUEST THAT COURT ENTER
                    ORDER SUSTAINING OBJECTION


         Now comes Carolyn A. Bankowski, Standing Chapter 13 Trustee (“Trustee”), and

  hereby certifies a conference pursuant to MLBR 13-8 regarding the Objection to

  Confirmation filed by the Trustee on January 14, 2019 was not held. The Trustee further

  states that no conference was necessary, as the Debtors indicated in the Response to the

  Objection that the Debtors would file an amended plan.

         WHEREFORE, the Trustee respectfully requests that this Court enter an Order

  sustaining the Objection and ordering the Debtors to file a further amended plan within

  thirty (30) days, and for such other relief as this Court deems proper.

  Dated: February 1, 2019                       Respectfully submitted,
                                                Carolyn A. Bankowski
                                                Standing Chapter 13 Trustee
                                                /s/ Patricia A. Remer
                                                Carolyn A. Bankowski, BBO#631056
                                                Patricia A. Remer, BBO#639594
                                                Office of the Chapter 13 Trustee
                                                PO Box 8250
                                                Boston, MA 02114-0022
                                                (617) 723-1313
                                                13trustee@ch13boston.com
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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on February 1, 2019, a copy of the
  foregoing Certification was served via first class mail postage prepaid, or via electronic
  notice upon debtor’s counsel and/or the pro se debtor, at the addresses set forth below.

  Lawrence A. Simeone, Jr.
  Law Office of Lawrence A. Simeone, Jr.
  300 Broadway
  Revere, MA 02151




                                                        /s/ Patricia A. Remer
                                                        Patricia A. Remer, BBO#639594




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